                    Case 1:14-cv-00209-SPB Document 328-2 Filed 05/17/18 Page 1 of 1
               COMMITTEES                           STATE SENATOR
                                                                                        o       SENATE BOX 203041
                                                     DON WHITE                                  THE STATE CAPITOL
   BANKING & INSURANCE, CHAIRMAN                41st Senatorial District                     HARRISBURG, PA 17120-3041
                                                                                                   7l 7-767-0724
 ENVIRONMENTAL RESOURCES & ENERGY
                                                                                                 FAX: 717-772-1509
               LAW & JUSTICE
       RULES & EXECUTIVE NOMINATIONS                                                         SIB PHILADELPHIA STREET
                                                                                                 INDIANA, PA 15701
             STATE GOVERNMENT
                                                                                                   724-357-0151
                                                                                                 FAX: 724-357-0148
       PA INFRASTRUCTURE INVESTMENT                                                          tTOLL FREE) 066-357-0151
            AUTHORITY (PENNVEST)
                                                                                        o   109 SOUTH JEFFERSON STREET
MINING & RECLAMATION ADVISORY BOARD
                                                                                                 KInANNING, PA 10201
                                                                                                     724-543-3026
                                                                                                   FAX: 724-546-4856
                                                                                               tTOLL FREE) 066-366-9440

                                           ‘rnzde uf crnwgIuauia                            3950 WILLIAM PENN HIGHWAY
                                                                                                      SUITE I
                                                                                               MURRYSVILLE, PA 15666
May 16, 2018                                                                                       724-327-2422
                                                                                                 FAX: 724-327-2436
                                                                                              TOLL FREE) 066-730-9440




To Whom It May Concern:

The disposal of fracking waste continues to be a significant issue in Pennsylvania. Our mutual constituents in
Grant Township, which relies exclusively on groundwater for their living needs, is no exception in dealing with
those issues. Grant Township has pursued avenues to protect the health, safety, and welfare of their
community in an effort to respond to constituent concerns, but it has come at a significant cost.

Grant Township would be faced with severe financial hardship or bankruptcy should the Court compel its
citizens to pay for legal fees they did not choose to incur. In reality, any judgement against the township
would be borne directly by the taxpayers. The elected officials of Grant Township attempted to fulfill the duty
they believe they had to conserve their community’s natural resources both in the present and for future
generations by going beyond current federal and state regulations with the enactment of local ordinances and
home rule charters. While the Court has rebuffed those actions, we believe further penalties would be overly
burdensome.

Grant Township should not be punished for taking actions they believed were in the best interests of the
community they represent. We ask the Court to not penalize their taxpayers further.

Sincerely,                             Sincerely,                          Sincerely,




Don White,                             Cris Dush, Representative           Michael Baker, Commissioner
41St
    District                           66th District                       Indiana County


Sincerely,                             Sincerely,




Rod Ruddock, Commissioner              Sherene Hess, Commissioner
Indiana County                         Indiana County
